         Case 1:18-cv-11028-GAO Document 13 Filed 06/07/18 Page 1 of 2



                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


ANALOG DEVICES, INC. and HITTITE
MICROWAVE LLC,
     Plaintiffs,

              v.                                C.A. No. 1:18-cv-11028-GAO

MACOM TECHNOLOGY SOLUTIONS
HOLDINGS, INC. and MACOM
TECHNOLOGY SOLUTIONS INC.,
     Defendants.


                   NOTICE OF APPEARANCE OF C. MAX PERLMAN

       Please enter the appearance of C. Max Perlman on behalf of the Defendants, MACOM

Technology Solutions Holdings, Inc. and MACOM Technology Solutions Inc., in the above

referenced case.

                                         MACOM TECHNOLOGY SOLUTIONS
                                         HOLDINGS, INC. and MACOM
                                         TECHNOLOGY SOLUTIONS INC.,

                                         By their attorneys,

                                         /s/ C. Max Perlman
                                         C. Max Perlman (BBO No. 630395)
                                             max@hrwlawyers.com
                                         Tobias W. Crawford (BBO No. 678621)
                                             tcrawford@hrwlawyers.com
                                         HIRSCH ROBERTS WEINSTEIN LLP
                                         24 Federal Street, 12th Floor
                                         Boston, Massachusetts 02110
                                         (617) 348-4300

Dated: June 7, 2018
         Case 1:18-cv-11028-GAO Document 13 Filed 06/07/18 Page 2 of 2




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to those indicated as non-registered participants on June 7, 2018

                                              /s/ C. Max Perlman
                                              C. Max Perlman




                                                  2
